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                                            No. 15-985C

                                       (Filed: February 19, 2016)
                                     (NOT TO BE PUBLISHED)

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                                                )                              FILED
 ROBERT W. BATES,                               )
                                                )                            FEB 1 9 2016
                        Plaintiff,              )
                                                                           U.S. COURT OF
                                                )                         FEDERAL CLAIMS
         v.                                     )
                                                )
 UNITED ST ATES,                                )
                                                )
                        Defendant.              )
                                                )
 **********************************


       Robert W. Bates, Fort Lauderdale, Florida, prose.

        Ryan M. Majerus, Trial Attorney, Commercial Litigation Branch, Civil Division, United
States Department of Justice, Washington, D.C. for defendant. With him on the briefs were
Benjamin C. Mizer, Principal Deputy Assistant Attorney General, Civil Division, Robert E.
Kirschman, Jr., Director, and Deborah A. Bynum, Assistant Director, Commercial Litigation
Branch, Civil Division, United States Department of Justice, Washington, D.C.


                                              ORDER

LETTOW, Judge.

        The complaint filed by plaintiff Robert W. Bates asserts claims against an unnamed
doctor premised on medical negligence and discrimination. Compl. at 12-15. Mr. Bates'
complaint includes few allegations of fact, but exhibits attached to it provide some factual
context. According to these exhibits, Mr. Bates went to a county hospital in New Jersey
reporting chest pain on June 17, 2008. Compl. at 1. He was there diagnosed with atypical chest
pain. Compl. at 1. Later that day, he went to a different hospital, which diagnosed him as
having had a heart attack. Compl. at 1. He filed suit against the first hospital in New Jersey state
court, and during those proceedings his then lawyer received expert opinions that the hospital's
staff had failed to adhere to minimal standards of care. Compl. at 1-2, 8. The exhibits appended
to the complaint do not explain whether or how this state court case was resolved. Of particular
relevance to this court, the complaint and its exhibits make no reference to actions of the federal
government.
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        Defendant has filed a motion to dismiss pursuant to Rule 12 of the Rules of the Court of
Federal Claims ("RCFC"), contending that this court lacks jurisdiction over tort claims against
private parties. Def. 's Mot. to Dismiss, ECF No. 8. Because Mr. Bates appears prose, the court
holds him to less stringent standards than plaintiffs represented by counsel, searching the
complaint and record "to see if plaintiff has a cause of action somewhere displayed." Ruderer v.
United States, 412 F.2d 1285, 1292 (Ct. Cl. 1969). This leniency, however, does not extend to
plaintiffs burden of establishing jurisdiction. See Kelley v. Secretary, United States Dep 't of
Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987). This court has jurisdiction under the Tucker Act
"to render judgment upon any claim against the United States founded either upon the
Constitution, or any Act of Congress or any regulation of an executive department ... for
liquidated or unliquidated damages in cases not sounding in tort." 28 U.S.C. § 1491(a)(l).
Jurisdiction under the Tucker Act extends only to suits against the United States, not "private
parties." United States v. Sherwood, 312 U.S. 584, 588 (1941). "If the court determines at any
time that it lacks subject-matter jurisdiction, the court must dismiss the action." RCFC 12(h)(3).

        Mr. Bates makes no allegations against the United States. Instead, the exhibits to his
complaint show that his claims of medical negligence and discrimination are against private
parties. See Compl. at 1, 12-15. Accordingly, this court does not have jurisdiction over his case.
See Potter v. United States, 124 Fed. Cl. 469, 474 (2015) (dismissing claims against private
healthcare service provider for lack of jurisdiction). Alternately, "[b ]ecause medical negligence
claims sound in tort," plaintiffs negligence claim "falls outside the subject matter jurisdiction of
this court." See Harvey v. United States, No. 09-164, 2009 WL 3423518, at *l (Fed. Cl. Oct. 20,
2009). For these reasons, the court dismisses plaintiffs case for lack of jurisdiction pursuant to
RCFC 12(h)(3).

         The court also sua sponte raises and declines transfer of the case pursuant to 28
U.S.C. § 1631, which provides that "the court shall, if it is in the interest of justice, transfer such
action or appeal to any other such court in which the action or appeal could have been
brought[.]" Transfer is not in the interest of justice when the complaint fails to state a claim. See
Bedell v. United States,_ Fed. Appx. _, _, 2016 WL 520025, at *1 (Fed. Cir. Feb. 10, 2016)
(affirming decision not to transfer pro se case because plaintiffs allegations were insufficient to
state a claim); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (complaint must contain
sufficient factual matter, accepted as true, to state a plausible claim for relief). And, even when
liberally construed, Mr. Bates' complaint and exhibits do not allege facts showing that his
complaint could have been brought jurisdictionally in another federal court. Among other
things, the complaint does not identify who the defendants may be. In these circumstances,
transfer is not appropriate.




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                                          CONCLUSION

      The government's motion to dismiss is GRANTED. 1 The clerk is directed to issue final
judgment in accord with this disposition.

       No costs.



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       It is so ORDERED.


                                          Judge




       1
       Mr. Bates' application to proceed informa pauperis is GRANTED. ECF No. 2.

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